     Case 4:20-cr-06002-SAB   ECF No. 416   filed 07/13/22    PageID.2223 Page 1 of 2




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5    Attorney for:
     LUIS ALCALA ORTEGA
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7
8
                       UNITED STATES DISTRICT COURT
9
                  FOR THE EASTERN DISTRICT OF WASHINGTON
10
                           (Honorable Stanley A. Bastian)
11
12
     UNITED STATE OF AMERICA,               )   NO. 20-CR-6002-SAB-6
13                                          )
                      Plaintiff,            )
14                                              MOTION TO EXPEDITE
         vs.                                )
15                                          )
                                            )   July 13, 2022 at 6:30 PM
16
     LUIS ALCALA ORTEGA,                    )   Richland, WA – Without Oral
17                                          )   Argument
                      Defendant.            )
18
19
     TO:   CLERK OF THE COURT, EASTERN DISTRICT OF WASHINGTON
20
     AND TO: STEPHANIE VAN MARTER, Assistant United States Attorney
21
22          COMES NOW the Defendant, LUIS ALCALA ORTEGA, by and through
23   his attorney of record, Ken Therrien, and moves the Court to consider on an
24
     expedited basis, Defendant Luis Alcala Ortega’s Motion to Expedite Time of
     Hearing with regards to the Defendant’s Motion and Declaration for Extension of
25
     Time to File Objections and Sentencing Memorandum.
26
            This motion is based upon the Declaration of Ken Therrien submitted with
27   the Motion and Declaration for Extension of Time to File Objections and
28   Sentencing Memorandum.
29
30   MOTION TO EXPEDITE                                      KEN THERRIEN, PLLC
     Page 1                                                  413 NORTH SECOND STREET
31                                                               YAKIMA, WA 98901
                                                                    (509) 457-5991
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1          Dated this 13th day of July, 2022.
2
3                                                   /s/ Ken Therrien
4                                                   KEN THERRIEN, WSBA #20291
                                                    Attorney for Luis Alcala Ortega
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                                                    413 North Second Street
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                                                    Fax: (509) 457-6197
                                                    kentherrien@msn.com
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13                              CERTIFICATE OF SERVICE
14
     I hereby certify under penalty of perjury of the laws of the State of Washington that on
15
     July 13, 2022, I electronically filed the foregoing with the Clerk of the Court using the
16   CM/ECF System which will send notification of such filing to the following:
17
18            • Stephanie Van Marter, Assistant United States Attorney
19
20                                              s/ Ken Therrien
21                                           KEN THERRIEN, WSBA #20291
                                             Attorney for Luis Alcala Ortega
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30   MOTION TO EXPEDITE                                          KEN THERRIEN, PLLC
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